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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 CORECO JA’QAN PEARSON, et al.,               )
                                              )
       Plaintiffs,                            )
                                              ) CIVIL ACTION NO.
 v.                                           ) 1:20-cv-4809-TCB
                                              )
 BRIAN KEMP, et al.,                          )
                                              )
       Defendants.                            )

                           NOTICE OF APPEARANCE

      COMES NOW Charlene S. McGowan, Assistant Attorney General, and

hereby makes an entry of appearance in the above-styled action on behalf of

Defendants Governor Brian Kemp, Secretary of State Brad Raffensperger, and State

Election Board Members Rebecca Sullivan, David Worley, Matthew Mashburn, and

Anh Le (collectively, “State Defendants”). Please direct all further pleadings,

notices, orders, and other matters to her at the following:

                     Office of the Attorney General
                     40 Capitol Square, SW
                     Atlanta, Georgia 30334
                     Telephone: (404) 458-3658
                     E-Mail: cmcgowan@law.ga.gov




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Respectfully submitted, this 30th day of November, 2020.


                               /s/ Charlene S. McGowan
                               CHARLENE S. MCGOWAN 697316
                               Assistant Attorney General

                               Office of the Georgia Attorney General
                               40 Capitol Square SW
                               Atlanta, GA 30334
                               cmcgowan@law.ga.gov
                               Tel: 404-656-3389
                               Fax: 404-651-9325

                               Counsel for State Defendants




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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing has been formatted using Times New

Roman font in 14-point type in compliance with Local Rule 7.1(D).

                                     /s/Charlene S. McGowan
                                     Charlene S. McGowan
                                     Assistant Attorney General




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing NOTICE

OF APPEARANCE with the Clerk of Court using the CM/ECF system, which will

send notification of such filing to counsel for the parties of record via electronic

notification.

      Dated: November 30, 2020.

                                      /s/ Charlene S. McGowan
                                      Charlene S. McGowan
                                      Assistant Attorney General




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